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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  DONALD J. TRUMP, et al.,                         Case No.21-cv-09044-WHA
                 Plaintiffs,

          v.

  FACEBOOK INC., et al.,
                 Defendants.



                    NOTICE OF REQUEST FOR VIDEO RECORDING

       The parties in this case are hereby notified that a request has been made to video record

the following proceeding in this case pursuant to General Order 65, as part of the Cameras in the

Courtroom Pilot Project. Further information may be found at cand.uscourts.gov/cameras.



Proceeding: Initial Case Management Conference

Date of scheduled proceeding: 11/02/2023



       Consent to video recording will be presumed unless a party completes the Objection to

Request for Video Recording form available at cand.uscourts.gov/cameras by noon, Tuesday,

October 31, 2023.



Dated: 10/27/2023                                   Mark B. Busby, Clerk of Court



                                                    Signature of Clerk or Deputy Clerk
